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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                    NO: 2:17-CR-0133-TOR-1
 8                              Plaintiff,              2:17-CR-0133-TOR-2

 9          v.
                                                    ORDER GRANTING DISCLOSURE
10    ELDRED BURNETT HEATH and                      AND PROTECTIVE ORDER
      JANICE KAY HEATH,
11
                                Defendants.
12

13         BEFORE THE COURT are the United States’ Motion for an Order to

14   Disclose Pre-Indictment Pleadings for Discovery but Not Unsealing and for

15   Protective Order and Motion to Expedite (ECF Nos. 30, 31). The motions were

16   submitted for consideration without oral argument. The Court has reviewed the

17   record and the pleadings therein, and is fully informed.

18         In order to comply with its discovery requirements while balancing the need

19   to protect the integrity of the on-going investigation and alleviate safety concerns,

20   the government seeks to disclose certain pre-indictment pleadings to Defendants


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 1   but keep them sealed from public access and to enter into a protective order that

 2   will govern the dissemination of such pleadings. For good cause shown, the

 3   United States’ motions (ECF Nos. 30, 31) are granted.

 4            ACCORDINGLY, IT IS HEREBY ORDERED:

 5            The United States is permitted to disclose the following pre-indictment

 6   pleadings are all currently sealed by the Court (hereinafter “Protective Discovery”)

 7   to counsel for Defendants, pursuant to its discovery obligations:

 8                                             Warrants

 9            4:17-mj-07022-JTR, 4:17-mj-07026-JTR, 4:17-mj-07063-JTR,

10            1:17-mj-04112-JTR, 2:17-mj-00301-JTR, 4:17-mj-07132-JTR,

11            2:17-mj-00328-JTR, 2:17-mj-00329-JTR, 2:17-mj-00330-JTR,

12            2:17-mj-00331-JTR, 2:17-mj-00332-JTR, 2:17-mj-00333-JTR

13            2:17-mj-00334-JTR, 2:17-mj-00335-JTR, 2:17-mj-00336-JTR

14            Such applications, orders and warrants shall otherwise remain sealed by the

15   Court.

16            IT IS FURTHER ORDERED that:

17            1.    The United States will provide discovery materials (including

18   Protective Discovery) on an on-going basis to defense counsel;

19            2.    Defense counsel may possess but not copy (excluding the production

20   of necessary working copies) the discovery materials, including sealed documents;


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 1           3.    Defense counsel may show to, and discuss with the Defendants the

 2   discovery material, including sealed documents;

 3           4.    Defense counsel shall not provide original or copies of discovery

 4   materials directly to the Defendants;

 5           5.    Defense counsel shall not otherwise provide original or copies of the

 6   discovery material to any other person, including subsequently appointed or

 7   retained defense counsel, but excluding any staff of defense counsel or investigator

 8   and/or expert engaged by defense counsel, who will also be bound by the terms

 9   and conditions of the protective order;

10           6.    The United States and defense counsel may reference the existence

11   and content of sealed discovery material in open and closed court proceedings

12   relevant to this cause. Any reference to the content of the Protected Discovery

13   shall be filed under seal, until further order of the Court.

14           7.    The parties may seek relief from this Order for good cause shown.

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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED August 22, 2017.

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 5                                   THOMAS O. RICE
                              Chief United States District Judge
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